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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                MEMPHIS DIVISION

  OCTAVIA CRAFT,

        Plaintiff,

  v.
                                                    CASE NO.:
  CREDIT ACCEPTANCE CORPORATION,

       Defendant.
                                       /

                     COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW, Plaintiff, Octavia Craft, by and through the undersigned counsel,

 and sues Defendant, Credit Acceptance Corporation, and in support thereof respectfully

 alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

 (“TCPA”).

                                     INTRODUCTION

            1.   The TCPA was enacted to prevent companies like Defendant from

  invading American citizen’s privacy and to prevent abusive “robo-calls.”

            2.   “The TCPA is designed to protect individual consumers from receiving

  intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

  (2012).

            3.   “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

  *1256 scourge of modern civilization, they wake us up in the morning; they interrupt our

  dinner at night; they force the sick and elderly out of bed; they hound us until we want to

  rip the telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings


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  presumably intended to give telephone subscribers another option: telling the autodialers

  to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.

  2014).

           4.       According    to   the   Federal   Communications    Commission      (FCC),

  “Unwanted calls and texts are the number one complaint to the FCC.                There are

  thousands of complaints to the FCC every month on both telemarketing and robocalls.

  The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

  Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

  Wireless       Phones,   Federal    Communications     Commission,      (May    27,   2015),

  https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                                 JURISDICTION AND VENUE

            5.      Jurisdiction and venue for purposes of this action are appropriate and

  conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

  violations of the TCPA.

            6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

  this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

  district courts shall have original jurisdiction of all civil actions arising under the

  Constitution, laws, or treaties of the United States; and this action involves violations of

  47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

  and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

           7.       The alleged violations described herein occurred in Shelby County,

  Tennessee. Accordingly, venue is appropriate with this Court under 28 U.S.C.



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  §1391(b)(2), as it is the judicial district in which a substantial part of the events or

  omissions giving rise to this action occurred.

                                FACTUAL ALLEGATIONS

         8.      Plaintiff is a natural person, and citizen of the State of Tennessee, residing

  in Shelby County, Tennessee.

         9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

  F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

  Cir. 2014).

         10.     Defendant is a corporation with its principal place of business located at

  25505 W. 12 Mile Road, Southfield, Michigan 48034-1846, and which conducts business

  in the State of Tennessee at 2908 Poston Avenue, Nashville, Tennessee 37203-1312.

         11.     Defendant called Plaintiff approximately six hundred (600) times in an

  attempt to collect on an automobile loan.

         12.     Upon information and belief, some or all of the calls Defendant made to

  Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

  system” which has the capacity to store or produce telephone numbers to be called, using

  a random or sequential number generator (including but not limited to a predictive dialer)

  or an artificial or pre-recorded voice; and to dial such numbers as specified by 47 U.S.C §

  227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that she knew it was an

  auto-dialer because of the vast number of calls she received and because she heard a

  pause when she answered her phone before a voice came on the line and that she received

  pre-recorded messages from Defendant.



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         13.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

  number (901) ***-4168 and was the called party and recipient of Defendant’s calls.

         14.     Defendant placed an exorbitant number of automated calls to Plaintiff’s

  cellular telephone number (901) ***-4168 in an attempt to collect on an auto loan.

         15.     The auto-dialer calls from Defendant were initiated from phone numbers

  including but not limited to: 734-521-2063, 517-861-2084, and 810-272-5123, and when

  those numbers are called a pre-recorded voice or agent answers and identifies the number

  as belonging to Defendant.

         16.     On several occasions over the last four (4) years, Plaintiff instructed

  Defendant’s agent(s) to stop calling her cellular telephone. Specifically, in or about late

  November of 2016, Plaintiff told Defendant’s agent “do not call me about this matter.”

  Plaintiff went on to advise Defendant to stop calling her cellular telephone number

  multiple more times throughout 2017.

         17.     Defendant willfully and/or knowingly harassed and abused Plaintiff on

  numerous occasions by calling Plaintiff's cellular telephone number up to four (4) times a

  day, with such frequency as can reasonably be expected to harass, all in an effort related

  to collection of the subject account.

         18.     Defendant has a corporate policy to use an automatic telephone dialing

  system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

  cellular telephone in this case.

         19.     Defendant has a corporate policy to use an automatic telephone dialing

  system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular



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  telephone in this case, with no way for the consumer, or Defendant, to remove the

  number.

          20.    Defendant’s corporate policy is structured so as to continue to call

  individuals like Plaintiff, despite these individuals explaining to Defendant they do not

  wish to be called.

          21.    Defendant has numerous other federal lawsuits pending against them

  alleging similar violations as stated in this Complaint.

          22.    Defendant has numerous complaints against it across the country asserting

  that its automatic telephone dialing system continues to call despite being requested to

  stop.

          23.    Defendant has had numerous complaints against it from consumers across

  the country asking to not be called, however Defendant continues to call these

  individuals.

          24.    Defendant’s corporate policy provided no means for Plaintiff to have

  Plaintiff’s cellular telephone number removed from Defendant’s call list.

          25.    Defendant has a corporate policy to harass and abuse individuals despite

  actual knowledge the called parties do not wish to be called.

          26.    Not one of Defendant’s telephone calls placed to Plaintiff were for

  “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

          27.    Defendant willfully and/or knowingly violated the TCPA with respect to

  Plaintiff.




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         28.     From each and every call placed without express consent by Defendant to

  Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

  intrusion upon her right of seclusion.

         29.     From each and every call without express consent placed by Defendant to

  Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of her cellular

  telephone line and cellular telephone by unwelcome calls, making the cellular telephone

  unavailable for legitimate callers or outgoing calls while the cellular telephone was

  ringing from call.

         30.     From each and every call placed without express consent by Defendant to

  Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

  her time. For calls she answered, the time she spent on the call was unnecessary as she

  repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

  time to unlock the cellular telephone and deal with missed call notifications and call logs

  that reflect the unwanted calls. This also impaired the usefulness of these features of

  Plaintiff’s cellular telephone, which are designed to inform the user of important missed

  communications.

         31.     Each and every call placed without express consent by Defendant to

  Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to the

  Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

  answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

  cellular telephone and deal with missed call notifications and call logs that reflected the




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  unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

  telephone, which are designed to inform the user of important missed communications.

          32.     Each and every call placed without express consent by Defendant to

  Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

  Plaintiff’s cellular telephone’s battery power.

          33.     Each and every call placed without express consent by Defendant to

  Plaintiff’s cellular telephone where a voice message was left which occupied space in

  Plaintiff’s cellular telephone or network.

          34.     Each and every call placed without express consent by Defendant to

  Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

  namely her cellular telephone and her cellular telephone services.

          35.     As a result of the calls described above, Plaintiff suffered an invasion of

  privacy. Plaintiff was also affected in a personal and individualized way by stress,

  embarrassment, and aggravation.

                                            COUNT I
                                     (Violation of the TCPA)

          36.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

  thirty-five (35) as if fully set forth herein.

          37.     Defendant willfully violated the TCPA with respect to Plaintiff,

  specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

  Plaintiff notified Defendant that Plaintiff wished for the calls to stop.

          38.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

  cellular telephone using an automatic telephone dialing system or pre-recorded or


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  artificial voice without Plaintiff’s prior express consent in violation of federal law,

  including 47 U.S.C § 227(b)(1)(A)(iii).

         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

  triable and judgment against Credit Acceptance Corporation for statutory damages,

  punitive damages, actual damages, treble damages, enjoinder from further violations of

  these parts and any other such relief the court may deem just and proper.

                                               Respectfully submitted,



                                               /s/Frank H. Kerney, III, Esquire
                                               Frank H. Kerney, III, Esquire
                                               BPR #: 035859
                                               Morgan & Morgan, Tampa, P.A.
                                               One Tampa City Center
                                               201 North Franklin Street, 7th Floor
                                               Tampa, FL 33602
                                               Telephone: (813) 223-5505
                                               Facsimile: (813) 223-5402
                                               fkerney@forthepeople.com
                                               jkneeland@forthepeople.com
                                               mbradford@forthepeople.com
                                               Counsel for Plaintiff




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